

Matter of Kapner (Commissioner of Labor) (2025 NY Slip Op 02257)





Matter of Kapner (Commissioner of Labor)


2025 NY Slip Op 02257


Decided on April 17, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 17, 2025

CV-24-1400
[*1]In the Matter of the Claim of Betsy Kapner, Appellant. Commissioner of Labor, Respondent.

Calendar Date:March 21, 2025

Before:Egan Jr., J.P., Clark, Lynch, Reynolds Fitzgerald and Fisher, JJ.

Betsy Kapner, Latham, appellant pro se.
Letitia James, Attorney General, New York City (Gary Leibowitz of counsel), for respondent.



Appeal from a decision of the Unemployment Insurance Appeal Board, filed March 21, 2024, which denied claimant's application for reopening and reconsideration of a prior decision of the Board.
Decision affirmed. No opinion.
Egan Jr., J.P., Clark, Lynch, Reynolds Fitzgerald and Fisher, JJ., concur.
ORDERED that the decision is affirmed, without costs.








